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                                                                                   JS-6
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 2                          UNITED STATES DISTRICT COURT
 3                         CENTRAL DISTRICT OF CALIFORNIA
 4

 5 EBRAHIM HAJIHASSANI, individually                 Case No.: 2:21-cv-07695-KK-KS
   and on behalf of all others similarly
 6 situated,

 7                                Plaintiff,         JUDGMENT
 8
          vs.
 9
                                                     Date: May 2, 2024
10 ENCORE FLIGHT CORPORATION                         Time: 9:30 A.M.
     d/b/a ENCORE FLIGHT ACADEMY.                    Dept.: Courtroom 3
11
                                                     Judge: Hon. Kenly Kiya Kato
12                                Defendant.
13

14        Having considered Plaintiff’s motion, the papers and declarations submitted
15 therewith, as well as the operative complaint and the record in this action, and good

16 cause appearing therefor, IT IS HEREBY ORDERED that Plaintiff’s Motion for

17 Default Judgment is GRANTED and Plaintiff is awarded the following monetary

18 damages and equitable relief against Defendant:

19        • The Contract at issue in Plaintiff’s Complaint is hereby rescinded;
20        • Plaintiff is awarded $2,960 in the form of restitution, compensatory, and/or
21              actual damages;
22        • Plaintiff is awarded $61,931.75 for Plaintiff’s counsel’s reasonable
23              attorney’s fees and costs incurred in this action.
24 IT IS SO ORDERED.

          April 30, 2024
25 DATED: __________                                 ______________________________
26                                                   HON. KENLY KIYA KATO
27                                                   U.S. DISTRICT COURT JUDGE

28

                                                  -1-
                                               JUDGMENT
